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                                                              U.S. Department of Justice

                                                              U.S. Attorney’s Office, District of New Jersey



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                                                              June 11, 2021

BY ECF AND EMAIL

The Honorable Brian R. Martinotti
United States District Court
Martin Luther King, Jr. Federal Building & Courthouse
50 Walnut Street
Newark, N.J. 07102
    Re: United States v. Jose Torres, 20-Cr-418
        Government’s Response to Defendant’s Oral Motion For Internal
        Department of Justice Communications

Dear Judge Martinotti:

      Please accept this response to Defendant Jose Torres’ oral request, made
during oral argument on May 11, 2021, Tr. at 25, 1 to obtain a communication,
provided to the U.S. Attorney’s Office (“USAO”) by its legal counsel, the General
Counsel (“GCO”) for the Executive Office of U.S. Attorneys (“EOUSA”) at the
Department of Justice (“DOJ”).

       As this Court is aware, during that oral argument, this Court denied Torres’
fifth bail motion, which had been based, in part, upon his claim that AUSA Emma
Spiro had a conflict of interest. In so ruling, Your Honor found that no conflict of
interest existed, nor was there any appearance of a conflict of interest. Tr. at 14; ECF
#95. In its briefing on the conflict issue, the Government had informed the Court and
Torres that the USAO had sought and received advice (hereinafter “advice”) from
GCO and the outcome of that advice: that AUSA Spiro has no financial conflict of
interest, nor a prohibited “covered relationship” with any of the parties to this

      “Tr.” refers to the transcript of this Court’s May 11, 2021 oral argument;
        1

“ECF # __” refers to specific docket entries in this matter.
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litigation or their representatives.2 Further, the Government informed Torres and the
Court that GCO explicitly authorized AUSA Spiro to participate in this matter.3

        After failing to show that AUSA Spiro had a conflict of interest or the
appearance of a conflict of interest, Torres nevertheless sought discovery of the
internal DOJ advice, without citing any case law for the proposition that he is entitled
to it, nor articulating any need for it. As discussed further below, the Government
objects to the disclosure of the advice because it is an attorney-client privileged
communication, covered by the deliberative process privilege, and not discoverable
under Fed. R. Crim. P. 16, nor under Jencks, Giglio, or Brady.

I.    THE ADVICE IS PROTECTED BY THE ATTORNEY CLIENT PRIVILEGE.

       “The attorney—client privilege is the oldest of the privileges for confidential
communications known to the common law.” Upjohn Co. v. United States, 449 U.S.
383, 389 (1981). It is designed to “encourage full and frank communication between
attorneys and their clients and thereby promote broader public interests in the
observance of law and administration of justice.” Id. The privilege applies to (1) a
communication (2) between privileged persons (3) made in confidence (4) for the
purpose of obtaining or providing legal counsel. In re Teleglobe Comm’ns Corp.,
493 F.3d 345, 359 (3d Cir. 2007). “Privileged persons” include the client, the
attorneys, and any of their agents who help facilitate attorney-client
communications. Id. The privilege does not merely protect facts divulged by a client
to the attorney, it also includes opinions given by the attorney to the client and the
communications between attorneys that reflect client-supplied information. Elec.
Privacy Info. Ctr. v. U.S. Dep’t of Homeland Sec., 384 F. Supp. 2d 100, 114 (D.D.C.
2005). The purpose of the attorney-client privilege is “to assure that a client’s
confidences to his or her attorney will be protected, and therefore encourage clients
to be as open and honest as possible with attorneys.” Judicial Watch, Inc. v. U.S.
Dep’t of Homeland Sec., 736 F. Supp. 2d 202, 209 (D.D.C. 2010) (internal citation
omitted). The attorney-client privilege is not limited to the litigation context. See
Elec. Privacy Info. Ctr., 384 F. Supp. 2d at 114.

      A government agency, like a private party, “needs … assurance of
confidentiality so it will not be deterred from full and frank communications with its

      2
          See ECF #88 at 3-4 & #92 at 3-4.
      3
        As the Government stated during oral argument, should the Court wish to
see the advice, the Government will provide it ex parte and in camera. Tr. at 25.

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counselors.” In re Lindsey, 148 F.3d 1100, 1105 (D.C. Cir. 1998). Accordingly,
unless applicable law provides otherwise, the Government may invoke the attorney-
client privilege “to protect confidential communications between Government
officials and Government attorneys.” United States v. Jicarilla Apache Nation, 564
U.S. 162, 170 (2011). Within the agency context, the attorney-client privilege shields
“counseling[ ] intended to assist the agency in protecting its interests,” as well as
“legal advice and recommendations regarding agency action.” Am. Immigration
Council v. U.S. Dep’t of Homeland Sec., 21 F. Supp. 3d 60, 79, 80 (D.D.C. 2014)
(cleaned up). Likewise, the privilege “applies to confidential communications made
to an attorney by both high-level agency personnel and lower-echelon employees.”
Judicial Watch v. U.S. Dep’t of the Army, 466 F. Supp. 2d 112, 121 (D.D.C. 2006)
(citing Upjohn, 449 U.S. at 392-97).

       GCO provides guidance and legal advice to all personnel in U.S. Attorney’s
Offices regarding government ethics matters, such as conflicts of interest, recusals,
outside activities, and financial disclosure reports. GCO attorneys serve as legal
advisors or “in-house” ethics counsel to individual personnel in the USAO, including
the U.S. Attorney, seeking legal advice, thus creating an attorney-client relationship
between that individual and the GCO. Consequently, as numerous courts have held,
GCO’s advice to an inquiring AUSA or U.S. Attorney’s Office, who are constituents
of the DOJ, is protected by the attorney-client privilege of the DOJ. See, e.g.,
Marquez-Marin v. Lynch, 2018 WL 1358214, *8 (D. P.R. 2018) (in employment
discrimination matter, denying plaintiff’s request for correspondence between GCO
and USAO that was designed to provide or obtain legal advice on human resource
matters based on attorney-client privilege); Bartko v. U.S. Dep’t of Justice, 2018 WL
4608239, *11 (D.D.C. 2018) (granting summary judgment to EOUSA, finding that
email chain containing USAO’s request for legal advice from EOUSA, and
GCO’s provision of that advice in response, to be properly withheld from FOIA
production under the attorney-client privilege); Doe v. United States, 2015 WL
4077440, *12 (S.D. Fla. 2015) (alleged victims of Jeffrey Epstein who sued DOJ
under Crime Victims’ Rights Act were not entitled to communications between
USAO and GCO related to reason why USAO was “conflicted out” of case); Aaron
v. U.S. Dep’t of Justice, 2011 WL 13253641, *6 (D.D.C. 2011) (communications
between U.S. Attorney and GCO regarding recusal were confidential
communications, protected by attorney-client privilege); Parker v. U.S. Dep’t of
Justice, 68 F.Supp.3d 218, 230 (D.D.C. 2014) (confidential communications
between EOUSA and GCO with respect to AUSA’s unauthorized practice of law
fell under attorney-client privilege and were properly withheld from FOIA
response).


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       Here, the client, the USAO, sought legal advice in confidence from its
attorney, GCO, and GCO rendered its legal advice to the USAO. Therefore, the
attorney-client privilege applies to the advice, which was a “communication,”
“between privileged persons,” “made in confidence” “for the purpose” of “providing
legal counsel.” In re Teleglobe Comm’ns, 493 F.3d at 359. Disclosure of the advice
would deprive USAO personnel, and the DOJ in general, of the benefit of
confidential advice from GCO attorneys when navigating ethics issues, including
potential conflicts of interest. See In re Lindsey, 148 F.3d at 1105 (government
agency “needs … assurance of confidentiality so it will not be deterred from full and
frank communications with its counselors.”).

        Torres offers no compelling reason, and in fact no reason at all, to pierce the
attorney-client privilege. Indeed, Torres already knows the outcome of the advice:
GCO authorized the Acting U.S. Attorney to allow AUSA Spiro to continue to
participate in the case. Torres is not entitled to see the document itself. See, e.g.,
United States v. Fieger, 2008 WL 205804, *15 (E.D. Mich. 2008) (Fieger sought
internal DOJ legal opinion forming basis of recusal of top three USAO officials from
his case; court ruled that while that the Government had to reveal the reasons for the
recusal, it was not required to turn over the internal DOJ recusal memorandum
itself).

II.   THE ADVICE IS ALSO PROTECTED BY THE DELIBERATIVE PROCESS
      PRIVILEGE, AND TORRES HAS NOT DEMONSTRATED ANY NEED FOR IT.

       Designed to protect the quality of executive agency decision-making, see
NLRB v. Sears Roebuck & Co., 421 U.S. 132, 149, 151 (1975), the deliberative
process privilege is a privilege uniquely available to the Government, see Rockwell
Int’l Corp. v. U.S. Dep’t of Justice, 235 F.3d 598, 601 (D.C. Cir. 2001). The privilege
applies to “decision making of executive officials generally,” and protects
documents containing deliberations that are part of the process by which government
decisions are formulated. In re Sealed Case, 121 F.3d 729, 737, 745 (D.C. Cir. 1997).
“Although this privilege is most commonly encountered in Freedom of Information
Act litigation, it originated as a common law privilege.” Id. at 737.

      The privilege “recognizes that were agencies forced to operate in a fishbowl,
the frank exchange of ideas and opinions would cease and the quality of
administrative decisions would consequently suffer.” Redland Soccer Club, Inc. v.
U.S. Dep’t of Army, 55 F.3d 827, 854 (3d Cir. 1995) (internal citation omitted). As
the Supreme Court has explained, “[t]he deliberative process privilege rests on the
obvious realization that officials will not communicate candidly among themselves

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if each remark is a potential item of discovery and front page news, and its object is
to enhance the quality of agency decisions by protecting open and frank discussion
among those who make them within the Government.” U.S. Dep’t of the Interior v.
Klamath Water Users Protective Ass’n., 532 U.S. 1, 8-9 (2001) (citation omitted).
Notably, documents generated by ethics counsel, in particular, have been found to
be “exactly” what should be protected by the deliberative process
privilege. Broderick v. Shad, 117 F.R.D. 311 (D.D.C. 1987) (“[A]ny handwritten
notes of the Ethics officer and counsel, recommendations, opinions, or conclusions
should be redacted from these documents before disclosure, as those portions are
protected by the deliberative process privilege.”).

       An agency may withhold information under the deliberative process privilege
if it is both “predecisional” and “deliberative.” Abdelfattah v. U.S. Dep’t of
Homeland Sec., 488 F.3d 178, 183 (3d Cir. 2007). “A document is predecisional if
it was drafted to aid a decision maker in reaching his or her decision, and it is
deliberative if it reflects the give-and-take of the consultative process.” Quatanani
v. U.S. Dep’t of Justice, Nos. 12-4042 & 12-5379 (KSH), 2015 WL 1472227, *8 (D.
N.J. Mar. 31, 2015) (cleaned up). Courts should afford “considerable deference to
an agency’s judgment as to what constitutes part of the agency give-and-take – of
the deliberative process[.]” Gosen v. U.S. Citizenship & Immigration Servs., 118 F.
Supp. 3d 232, 244 (D.D.C. 2015) (cleaned up).

        The “deliberative process privilege is qualified and can be overcome by a
sufficient showing of need outweighing the harm that might result from
disclosure.” 2 Testimonial Privileges § 9:10 (3d ed.); Sears Roebuck, 421 U.S. at
149 n. 16. The Third Circuit has held that “the party seeking disclosure may
overcome the claim of privilege by showing a sufficient need for the material in
the context of the facts or the nature of the case ... or by making a prima
facie showing of misconduct.” Redland, 55 F.3d at 854. “This need determination
is to be made flexibly on a case-by-case, ad hoc basis.” In re Sealed Case, 121
F.3d at 737-738. A district court, in balancing the interests, “should consider at
least the following factors: (i) the relevance of the evidence sought to be protected;
(ii) the availability of other evidence; (iii) the ‘seriousness' of the litigation and the
issues involved; (iv) the role of the government in the litigation; [and] (v) the
possibility of future timidity by government employees who will be forced to
recognize that their secrets are violable.” Redland, 55 F.3d at 854 (internal citation
omitted).

      Here, the Government easily meets the initial burden of showing that the
advice is protected by the deliberative process privilege. General Counsel’s advice

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to the USAO is protected by the deliberative process privilege because the advice
was both predecisional and deliberative. The advice was predecisional because it
was sent by GCO to the Acting U.S. Attorney in order to assist her in determining
the appropriate course of action to pursue, i.e. whether AUSA Spiro should remain
assigned to the matter. In addition, the advice is deliberative. It is an internal DOJ
document intended to assist in the development of the USAO’s final position on the
issue. The advice contains the facts GCO relied upon and weighed as well as its
analysis, opinions, suggestions, and evaluative commentary.

    In considering the applicability of the deliberative process privilege, this Court
must also consider the effects of the disclosure on General Counsel’s future
consultations with U.S. Attorneys and employees of their offices. See City of
Virginia Beach, VA v. U.S. Dep’t of Commerce, 995 F.2d 1247, 1253 (4th Cir. 1993)
(“[T]he ultimate questions posed by the deliberative process privilege [are] whether
the materials bear on the formulation or exercise of agency policy-oriented judgment
and whether disclosure would tend to diminish candor within an agency.”) (cleaned
up). If General Counsel’s deliberations and discussions were disclosed, it could
compromise the necessarily confidential and candid relationship General Counsel
maintains with employees of U.S. Attorney’s Offices and impair the ability of U.S.
Attorney’s Offices to receive highly specialized advice and support. See Am.
Petroleum Inst. v. U.S. E.P.A., 846 F. Supp. 83, 89 (D.D.C. 1994) (documents
containing recommendations and opinions on policy or legal matters were
deliberative communications).

       The foregoing demonstrates that the Government has met its burden to show
the applicability of the deliberative process privilege. But, it is Torres’s burden to
establish that his need for the information outweighs the interest of the Government
in preventing its disclosure. Redland, 55 F.3d at 854. Torres has not articulated any
need whatsoever for disclosure of the advice. It is not relevant to the Government’s
proofs, nor to his defense. By contrast, the Government’s interest in protecting the
deliberative process privilege is strong. On balance, Torres cannot meet his burden
of demonstrating that his need outweighs the harm from disclosure.4



4
 The DOJ has not waived either the attorney-client privilege or its deliberative
process privilege; it has not quoted the advice, nor revealed its details to the Court,
Torres, or any third parties. See, e.g., Rockwell, 235 F.3d at 604. Rather, the
advice, which was marked “attorney-client privileged,” was intended to be, and has
been, kept confidential.

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III.   THE ADVICE IS NOT OTHERWISE DISCOVERABLE UNDER RULE 16, NOR IS
       IT JENCKS, GIGLIO, OR BRADY.

      Finally, the legal advice the Government received is not discoverable by
Torres for purposes of his trial preparation and defense against the Government’s
case in chief. The advice does not contain witness statements, which would be
discoverable under the Jencks Act, 18 U.S.C. § 3500. Nor is it exculpatory or
impeaching for Brady or Giglio purposes. Further, as an “internal government
document,” it is explicitly exempt from discovery under Rule 16 of the Federal Rules
of Criminal Procedure, which states:

       Information Not Subject to Disclosure. Except as permitted by Rule
       16(a)(1)(A)-(D), (F), and (G), this rule does not authorize the discovery
       or inspection of reports, memoranda, or other internal government
       documents made by an attorney for the government … in connection
       with investigating or prosecuting the case.

Fed. R. Crim. P. 16(a)(2) (emphasis added).

       The advice does not fall within any of the categories of items required to be
disclosed by Rule 16(a)(1). It is an “internal government document” made by
attorneys for the Government in connection with the prosecution of this case. See
United States v. Armstrong, 517 U.S. 456, 461-62 (1996) (Rule 16(a)(2) “exempts
from defense inspection … internal government documents made by the attorney for
the government … in connection with the investigation or prosecution of the case.”);
see also United States v. Elliott, 363 F.Supp.2d 439, 449 (N.D. N.Y. 2005) (denying
defendant’s request for discovery of documents related to the decision to prosecute
him federally rather than in state court because defendant “offered no factual support
demonstrating that such records are material to any defense he intends to raise or to
his guilt or punishment” and because “internal government documents” are not
subject to discovery under Rule 16(a)(2)).

IV.    CONCLUSION

       As Your Honor has already found, there is no conflict or an appearance of a
conflict. Moreover, Torres already knows the ultimate decision encapsulated in
General Counsel’s advice. Torres has cited no law supporting his entitlement to the
actual document, nor has he explained why he needs it or how he might use it.



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        After consultation with General Counsel and supervisors within the Criminal
Division of the USAO, the Acting U.S. Attorney has determined that AUSA Spiro
should remain assigned to this case, which she has investigated and prosecuted for
almost two years. AUSA Spiro has shepherded dozens of search warrants, evaluated
a sizeable amount of evidence, interviewed numerous witnesses, and produced
discovery. AUSA Spiro has deep knowledge of the proofs and familiarity with
witnesses. She has done nothing improper; in fact, as Your Honor found, “she has
done everything she was supposed to do following the regulations.” Tr. at 13. With
trial scheduled in less than four months, it would not be in the interests of justice to
reassign this matter to another AUSA.

     Should the Court need any further information regarding this issue, I would
be more than happy to provide it.



                                                Very truly yours,

                                                RACHAEL A. HONIG
                                                Acting United States Attorney


                                        By:     s/ SABRINA G. COMIZZOLI
                                                Assistant United States Attorney

CC: David Schafer, Esq.
    AUSA Emma Spiro
    AUSA Shawn Barnes




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